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                   EXHIBIT 151
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                                                                   Page 1

1                    IN THE UNITED STATES DISTRICT COURT

2                         EASTERN DISTRICT OF TEXAS

3                             SHERMAN DIVISION

4

5         THE STATE OF TEXAS, ET AL,

6                         Plaintiffs,

7         vs.                              CIVIL NO. 4:20-CV-957-SDJ

8         GOOGLE LLC,

9                         Defendants.

10        __________________________/

11

12

13                           HIGHLY CONFIDENTIAL

14              VIDEOTAPED DEPOSITION of NIRMAL JAYARAM, PhD

15                        Redwood City, California

16                              April 26, 2024

17                                 9:24 a.m.

18

19

20

21        Job No. MDLG6661144

22

23        Stenographically reported by:

24        JENNY L. GRIFFIN, RMR, CSR, CRR, CCRR, CRC

25        CSR No. 3969

                                Golkow Technologies,
     877-370-3377                A Veritext Division             www.veritext.com
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                                                                  Page 115

1          like purchasing something from the advertiser page,
2          or a different type of action which the advertiser
3          recognizes as a conversion.             So that action needs to
4          happen.
5               Q.       What are the benefits to publishers of
6          Bernanke?
7               A.       Bernanke is a buy-side algorithm meant to
8          maximize advertiser value subject to margin
9          constraint.       So that's the primary goal.
10                       We do think that Bernanke also benefited
11         publishers because we're building a better AdWords
12         product.       Our hope is more AdWords advertisers would
13         use it.       And more -- that means more revenue that
14         can also flow to publishers.
15              Q.       Did Bernanke result in publishers earning
16         more revenue?
17              A.       In -- I cannot answer the question as
18         phrased, because what happens to publishers -- I
19         don't have any visibility into it.               Publishers earn
20         revenue from a lot of different sources, and I only
21         have this ability into the AdWords component of it.
22




                     .

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                                                                Page 291

1          BY MR. HILLEGAS:
2                 Q.   There were some publishers
                                                          ; right?
4                      MR. BITTON:     Objection to form.
5                      THE WITNESS:




8                      And our hope always is that by building a
9          good advertiser product, more budgets come to
10         AdWords, and publishers benefit from these launches
11         too.
12         BY MR. HILLEGAS:
13                Q.   Do you know what percentage the biggest --
14         the publishers that lost the most lost by?
15                     MR. BITTON:     Objection to form.
16                     THE WITNESS:     Again, we cannot actually
17         quantify whether a publisher lost because of a
18         particular launch.        Assuming, again, that the
19         budgets went up because of good advertiser launches
20         for AdWords, publishers would also benefit from
21         those increased budgets.
22         BY MR. HILLEGAS:
23                Q.   Some publishers may have seen
                          ; right?
25                     MR. BITTON:     Objection to form.

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                                                                   Page 359

1                                     ---oOo---

2

3                   I, JENNY L. GRIFFIN, hereby certify:

4                   That I am a certified shorthand reporter in and

5         for the County of Alameda, State of California;

6                   Prior to being examined, NIRMAL JAYARAM, PhD,

7         the witness named in the foregoing deposition, was by

8         me duly sworn to testify to the truth, the whole

9         truth, and nothing but the truth; that said

10        deposition was taken pursuant to notice at the time

11        and place therein set forth, and was taken down by me

12        in stenotype and thereafter transcribed by means of

13        computer-aided transcription, and that said

14        deposition is a true record of the testimony given by

15        the witness.

16                  I further certify that I am neither counsel for

17        nor related in any way to any party to said action,

18        nor otherwise interested in the outcome thereof.

19                  In witness whereof, I have hereunto subscribed

20        my name April 29, 2024.

21

22

23                                     <%20828,Signature%>

24                                      JENNY L. GRIFFIN, CSR #3969

25                                     Certified Shorthand Reporter

                                   Golkow Technologies,
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                                                                 Page 360

1       JUSTINA K. SESSIONS, ESQ

2       Justina.sessions@freshfields.com

3                                   April 29, 2024

4       RE: The State Of Texas, Et Al. v. Google LLC

5            4/26/24, Nirmal Jayaram(#6661144)

6            The above-referenced transcript is available for

7       review.

8            Within the applicable timeframe, the witness should

9       read the testimony to verify its accuracy. If there are

10      any changes, the witness should note those with the

11      reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13      Deponent and Errata and return to the deposing attorney.

14      Copies should be sent to all counsel, and to Veritext at

15      cs-golkow@veritext.com

16

17       Return completed errata within 30 days from

18       receipt of testimony.

19            If the witness fails to do so within the time

20       allotted, the transcript may be used as if signed.

21

22                        Yours,

23                       Veritext Legal Solutions

24

25

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1                   DECLARATION UNDER PENALTY OF PERJURY

2         Case Name:     The State Of Texas, et al. v. Google LLC

3         Name of Witness:     NIRMAL JAYARAM, PhD

4         Date of Deposition:     April 26, 2024

5         Job No.: 6661144

6

7                         I, NIRMAL JAYARAM, PhD, hereby certify

8         under penalty of perjury under the laws of the State

9         of California that the foregoing is true and correct.

10                        Executed this ______ day of

11        __________________, 2024, at ____________________.

12

13

14                        ____________________________________

15

16                             NIRMAL JAYARAM, PhD

17

18

19

20

21

22

23

24

25

                                 Golkow Technologies,
     877-370-3377                 A Veritext Division             www.veritext.com
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                                                           39111


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                                         ERRATA SHEET FOR THE TRANSCRIPT OF:


             Case Name:          The State of Texas, et al v. Google LLC, Case No. 4:20-CV-00957 (E.D.T.X.)

             Deposition Date: April 26, 2024

             Deponent:           Nirmal Jayaram


                                                             CORRECTIONS

             Page        Line       Change                                       Reason
             24          9          Change “Ad Exchanges” to “ad exchanges”      Transcription error
             24          12         Change “Ad Exchanges” to “ad exchanges”      Transcription error
             24          17         Change “Ad Exchanges” to “ad exchanges”      Transcription error
             24          19         Change “Ad Exchanges” to “ad exchanges”      Transcription error
            26           16         Change “Ad Exchanges” to “ad exchanges”      Transcription error

            26           19         Change “Ad Exchanges” to “ad exchanges”      Transcription error

            26           22         Change “Ad Exchanges” to “ad exchanges”      Transcription error
                                    Change “Ad Exchanges” to “ad exchanges”      Transcription error
             26          25

             41          5-6       Change “cost per requisition” to “cost per    Transcription error
                                   acquisition”

             63          10                                                      Transcription error

             63          12                                                      Transcription error

             63          14                                                      Transcription error

             63          16                                                      Transcription error

             63          19                                                      Transcription error

             63          24                                                      Transcription error

             64          2                                                       Transcription error

             64          10                                                      Transcription error

             64          4                                                       Transcription error

             64          14                                                      Transcription error

             65          4                                                       Transcription error

             68          6                                                       Transcription error
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             Case 4:20-cv-00957-SDJ              Document 703-1 Filed 12/09/24                    Page 9 of 9 PageID #:
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             68          10                                                             Transcription error

             120         8         Change “Ad Exchanges” to “ad exchanges”              Transcription error

             120         12        Change “Ad Exchanges” to “ad exchanges”              Transcription error

             121         11        Change “Ad Exchanges” to “ad exchanges”              Transcription error

             122         24        Change “Ad Exchange” to “ad exchange”                Transcription error

             134         22        Change “Ad Exchanges” to “ad exchanges”              Transcription error

             137         6         Change “dictates the good revenues” to “dictates     Transcription error
                                   the revenues”
             263         23        Change “if publishers said multiple floors” to “if   Transcription error
                                   publishers set multiple floors”
             343         15                                                             Transcription error

             343         21                                                             Transcription error

             344         2                                                              Transcription error

             344         19                                                             Transcription error

             346         1                                                              Transcription error

             346         3                                                              Transcription error



             I have inspected and read my deposition and have listed all changes and corrections above, along with my
             reasons therefor.




                      5/28/2024
             Date: ________________________________                  Signature: __________________________________
